
374 U.S. 490 (1963)
MAYS
v.
CALIFORNIA.
No. 871, Misc.
Supreme Court of United States.
Decided June 17, 1963.
ON PETITION FOR WRIT OF CERTIORARI TO THE SUPREME COURT OF CALIFORNIA.
Petitioner pro se.
Stanley Mosk, Attorney General of California, and William E. James, Assistant Attorney General, for respondent.
PER CURIAM.
The motion for leave to proceed in forma pauperis and the petition for writ of certiorari are granted. The judgment is vacated and the case is remanded for further consideration in light of Douglas v. California, 372 U. S. 353.
MR. JUSTICE CLARK and MR. JUSTICE HARLAN dissent for the reasons stated in their dissenting opinions in Douglas v. California, 372 U. S., at 358, 360.
